                                  UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF PENNSYLVANIA

       In re:                                    :

       GEORGE LIMBERIOU
                                                 : Bankruptcy No. 16-14655REF
                      Debtor(s)                  : Chapter 13

                                               ORDER

         AND NOW, after notice and hearing, the above-captioned case is hereby dismissed.




                                                            BY THE COURT


      Date: January 11, 2018
                                                 ______________________________
                                                 Richard E. Fehling, B. J.
Interested parties:

Lisa M. Ciotti, Esq.
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Standing Chapter 13 Trustee
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